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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELA WARE
  ROUTEl INC.,                                )
                                              )
                    Plaintiff /Counterclaim   )
                    Defendant,                )
                                              )
          V.                                  )     Civil Action No. 17-cv-331 (KAJ)
                                           )              FILED UNDER SEAL
 AIRWATCH LLC,                             )
                                           )
                    Defendant/Counterclaim )
                    Plaintiff.             )



                               MEMORANDUM OPINION


 Dominick T. Gattuso, Heeeyman Enerio Gattuso & Hirzel LLP, 300 Delaware Avenue, Ste. 200,
 Wilmington, DE 19801, Counsel for Plaintiff and Counterclaim Defendant
       Of Counsel : Michael J. Garvin, Marcel C. Duhamel, Aaron M. Williams, Vorys, Sater,
                      Seymour and Pease, LLP, 200 Public Square, Ste. 1400, Cleveland, OH
                      44114
                      William H. Oldach III, Vorys, Sater, Seymour and Pease, LLP, 1909 K
                      Street N.W., 9th Fl., Washington, DC 20006
                      Rex M. Miller, II, Vorys, Sater, Seymour and Pease, LLP, 52 E. Gay
                      Street, Columbus, OH 43215

Elena C. Norman, Anne Shea Gaza, Samantha G. Wilson, Young Conaway Stargatt & Taylor,
LLP, 1000 North King Street, Wilmington, DE 198011, Counsel/or Defendant and
Counterclaim Plaintiff
       Of Counsel: Michael A . Jacobs, Richard SJ. Hung, Christopher J. Wiener, Morrison &
                     Foerster LLP, 425 Market Street, San Francisco, CA 94105
                     Bita Rahebi, Morrison & Foerster LLP, 707 Wilshire Boulevard, Los
                     Angeles, CA 90017




August 7, 2019
Wilmington, Delaware
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         This suit by Routel Inc. ("Routel ") against AirWatch LLC ("AirWatch") asserts

 infringement of U.S. Patent No. 7,814,216 (the "'216 patent"). Presently before me are

 the following: (1) a supplemental claim construction issue (D.I. 191, 193);

 (2) AirWatch's motion for summary judgment of non-infringement and invalidity (D.I.

 199); (3) AirWatch's Daubert motion seeking exclusion ofRoutel 's damages expert

 (D.I. 200); and (4) Routel 's Daubert motion seeking exclusion of AirWatch's damages

 expert (D.I. 197).

        AirWatch's request for additional claim construction (D.1. 191) will be granted.

 As a consequence of my decision on the disputed claim language, AirWatch's motion for

 summary judgment (D.I. 199) will be granted in part, since, given the evidence, there is

 no plausible basis for saying that AirWatch's system infringes the '216 patent. As a

 further consequence, both parties' Daubert motions (D.1. 197, 200) will be denied as

 moot. I will, however, deny AirWatch's summary judgment motion as to the alleged

 invalidity of the '216 patent.

 I.     INTRODUCTION

        The parties are well aware of the background of this case, so I recite only those

 facts relevant to the motions at hand.

        Generally, the technology described in the '216 patent is directed to a means for

 remote computing access, "enabling peer-to-peer communication" between a host

 computer and remote device over a communication network. ('216 Pat. 1:7-10.) The

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 '216 patent claims a method by which users of "remote devices" can connect to "hosts"

 through an interfacing component, a "controller." 1 ('216 Pat. 1:46-56.)

        That technology generally operates according to the steps listed in claim 1. 2 First,

 the controller, a "general purpose computer" that "performs authentications, authorization

 and communications protocol management functions[]" ('216 Pat. 2:64-3 :3), connects

 with a host, a "general purpose computer programmed according to the present invention,


        1
         The experts for both sides agree that the technology could include, for example, a
 mobile phone connecting to a company server, enabling remote access to a work desktop.
 ('216 Pat. 1:32-37; D.I. 218-1 (Aki Rpt.) ~ 55; D.I. 202-1 (Snoeren Rebuttal Rpt.) ~1136-
 38.)
       2
         Claim 1, the only independent claim, reads as follows:
"A method of enabling communication between a host and a remote device using a
controller, comprising:
     connecting the controller to the host;
     connecting the controller to the remote device, the host and the remote device being
       in separate locations;
    validating, at the controller, digital identity certificates received from each of the host
       and the remote device, each identity certificate containing (i) the public half of an
       asymmetric key algorithm key pair, (ii) identity information, and (iii) a digital
       signature of the issuing certificate authority, thereby converting the host to a
       validated host, and converting the remote device to a validated remote device;
    receiving, at the controller, a selection of the host from the validated remote device;
    sending parameters for the validated remote device from the controller to the selected
       host;
    sending an instruction, from the controller to the selected host, to establish a
       connection to the remote device;
    receiving, at the controller, notifications from the selected host and the validated
       remote device that a connection exists therebetween; and
    after receiving notice of a connection between the selected host and the validated
       remote device refraining from involvement, at the controller, in transporting data
       between the selected host and the validated remote device, so that the selected host
       and the validated remote device subsequently communicate with each other
       without using any resource of the controller."
('216 Pat. 10:2-30.)

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 typically a personal computer executing a Windows operating system[]" 3        (' 216   Pat.

 2:60-62; 10:1-4). Then, the controller connects to a remote device, "such as a laptop

 computer, tablet computer, PDA, or mobile phone." (D.I. 218-1 ,i 60; see also '216 Pat.

 10:5-6; D.I. 202-1 ,i 74.) Those are the three major players here: a remote device, a

 controller, and a host.

        Next, the controller validates both the remote device's and the host's legitimacy

 by examining a set of digital identifiers. ('216 Pat. 10:7-14.) At that point, the remote

 device selects a host, notifying the controller. ('216 Pat. 10:15-16.) Then, the controller

 sends "parameters," or the necessary information to setup the peer-to-peer connection, to

 the selected host. 4 ('216 Pat. 10:17-18.)

        After the validation and parameters steps, the controller sends "an instruction,

 from the controller to the selected host, to establish a connection to the remote device[.]"

 ('216 Pat. 10:19-20.) I will be referring to that limitation as the "instruction" limitation,

 or Step lg. After the operation described in the "instruction" limitation, and after a

 connection has been made between the host and the remote device, the controller receives

 notifications from both the host and remote device verifying that connection. ('216 Pat.

 10:21-23.) Lastly, once the connection is made, the controller must "refrain[] from

        3
          The parties vigorously dispute whether a host must be a single component, e.g., a
general computer, or whether it can be multiple components functioning as a general
computer, e.g., a network/cloud coupled with an email server. (D.I. 201 at 19-20; D.I.
228 at 17-18.)
        4
          The parties dispute the meaning of several limitations, including the
"parameters" limitation, and I will reference those limitations herein for descriptive
purposes, but those disputes are not material at this point - the case turns on a single
limitation, the "instruction" limitation. (D.I. 253 at 9.)

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  involvement[] ... in transporting data between the selected host and the validated remote

 device, so that the selected host and the validated remote device subsequently

 communicate with each other without using any resource of the controller." ('216 Pat.

 10:24-30.)

           Relevant to its theories of infringement, Route 1 identifies two different

 configurations of AirWatch's accused products, which it contends embody two distinct

 forms of the claimed "host." (D.I. 218-1     ,r 88; D.I. 228 at 14-15, 17-18.)   Routel first

 argues that "the Secure Email Gateway (SEG), 5 which is connected to the Exchange

 Server[]" amounts to a host, as claimed in the '216 patent. (D.I. 228 at 15; D.I. 218-1

 ,r 88.)   Alternatively, Routel contends that "an AirWatch customer's email system [or the

 Exchange Server], 6 in combination with the [AirWatch Cloud Connector]" ("ACC"), 7

 amounts to the same. (D.I. 218-1 , 88; see D.I. 228 at 18 ("[T]he host is not limited to

 [the ACC] but also includes the Exchange Server, ... i.e., email.").) In short, the first




           5
           According to Dr. Snoeren, AirWatch's invalidity and non-infringement expert,
 the SEG is "an optional network service that sits in front of, and controls access to, an
 email server." (D.1. 202-1, 107 (citation omitted).)
         6
           Dr. Snoeren says that the "Exchange Server is an email server from Microsoft. It
 is software that companies and other organizations use to setup email mailboxes to allow
 end users to send and receive email." (D.I. 202-1 ,r 123.)

           7
          Dr. Snoeren describes the ACC as "an optional component that provides for
 integration between AirWatch's servers and other back-end enterprise systems that
 provide access to corporate resources, which are typically not provided by AirWatch,
 such as directory services and certificate services. . . . ACC is designed so that corporate
 resources behind a corporate network firewall do not need to communicate directly with
 other components, .. . that are located outside of the corporate network firewall." (D.I.
 202-1 ,r 110 ( citation omitted).)
                                                 5
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 configuration identifies an email platform and an email inbox; the second configuration

 identifies an email inbox and an AirWatch component enabling cloud connectivity.

         This case was initially assigned to the Honorable Richard Andrews, but was

 subsequently re-assigned to me. Judge Andrews had previously conducted a Markman

 hearing and issued claim construction rulings, untangling much of the technical

 complexity of the patent's terms. "Once and done" should be the rule when it comes to

 claim construction, but there are exceptions. AirWatch submitted a letter memorandum,

 on March 14, 2019, "to bring additional claim construction disputes to the Court's

 attention and to seek the Court's guidance on how to proceed[]" (D.I. 191 at 1), and it has

 now asked me to construe the "instruction" limitation, Step lg, of claim 1. The operative

 language reads: "sending an instruction, from the controller to the selected host, to

 establish a connection to the remote device[.]" ('216 Pat. at 10:19-20.) Given the two

 allegedly infringing configurations advanced by Routel, I must determine whether either

 infringes. As to the first configuration, I must determine whether the SEG and Exchange

 Server instruct the host to establish a connection with the remote device. And for the

 second configuration, I must determine whether the ACC and Exchange Server do the

 same.

         According to AirWatch, Routel has tried to expand the meaning of the

 "instruction" limitation through the testimony and reports of its infringement expert, Dr.

 Robert Aki. (D.I. 191 at 1-3.) That expanded construction, in AirWatch's view, is not

 supported by the '216 patent's claim language, specification, and prosecution history.



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 Routel responded in a letter memorandum on March 21, 2019, disagreeing that its expert

 had done anything improper and opposing any further claim construction. (D.I. 193.)

         During the pendency of that request for additional claim construction, Air Watch

 moved for summary judgment of non-infringement and invalidity. Regarding non-

 infringement, it argued that, with an appropriate understanding of the "instruction"

 limitation, there was no infringement as a matter of law. As to invalidity, it argued that

 the "instruction" limitation fails to satisfy the written description requirement of 35

 U.S.C. § 112. Additionally, both parties filed Daubert motions, Routel seeking to

 exclude AirWatch's damages expert and AirWatch to exclude Routel 's damages expert.

 (D.1. 197, 200.)

        On June 26, 2019, I held oral argument on the dispositive motions and the Daubert

 motions, as well as the claim construction dispute.

 II.    LEGAL STANDARDS 8

        A.       Claim Construction

        Patent claims are construed as a matter oflaw. "[T]he words of a claim are

 generally given their ordinary and customary meaning." Phillips v. AWH Corp., 415 F.3d

 1303, 1312 (Fed. Cir. 2005) (en bane) (citation and internal quotation marks omitted).

 That ordinary meaning "is the meaning that the term would have to a person of ordinary

 skill in the art in question at the time of the invention[.]" Id. at 1313.

        "In some cases, the ordinary meaning of claim language as understood by a person

 of skill in the art may be readily apparent even to lay judges, and claim construction in

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            This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1338.
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 such cases involves little more than the application of the widely accepted meaning of

 commonly understood words." Id. at 1314. If the meaning of a claim term is not readily

 apparent, the court may look to "the words of the claims themselves, ... the specification,

 the prosecution history, and extrinsic evidence concerning relevant scientific principles,

 the meaning of technical terms, and the state of the art." Id. (citation and internal

 quotation marks omitted). During claim construction, "[t]he sequence of steps used by

 the judge in consulting various sources is not important; what matters is for the court to

 attach the appropriate weight to be assigned to those sources in light of the statutes and

 policies that inform patent law." Id. at 1324.

        B.     Summary Judgment

        Federal Rule of Civil Procedure 56 states that summary judgment should be

 granted when "there is no genuine dispute as to any material fact and the movant is

 entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). "[T]he plain language of

 Rule 56[] mandates the entry of summary judgment, after adequate time for discovery

 and upon motion, against a party who fails to make a showing sufficient to establish the

 existence of an element essential to that party's case, and on which that party will bear

 the burden of proof at trial." Celotex Corp. v. Catrett, 477 U.S. 317,322 (1986). The

 party moving for summary judgment bears the burden of establishing that there are no

 genuine disputes of material fact and that there is entitlement to judgment as a matter of

 law.




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 III.   DISCUSSION

        By way of preview, I first construe the "instruction" limitation and conclude that it

 encompasses only host-initiated, not remote-initiated, connections. Next, based on that

 construction, I consider literal infringement - the only infringement theory at issue - and

 conclude that there is none because AirWatch's products practice only remote-initiated

 connections. The need for infringement damages testimony is thus obviated and the

 parties' Daubert motions are made moot. Finally, I consider the argument that the '216

 patent is invalid for lack of written description, and I determine that genuine disputes of

 fact preclude summary judgment on that issue.

            1. Claim Construction

        Although the parties have raised other claim construction concerns, I limit my

 discussion to the "instruction" limitation, since it is dispositive of the pending summary

 judgment motion as to infringement. That limitation, again, Step I g of claim 1, requires

 "sending an instruction, from the controller to the selected host, to establish a connection

 to the remote device[.]" ('216 Pat. at 10:19-20.)

        Air Watch argues that the patent's disclosure supports only a construction of the

 "instruction" limitation that is confined to host-initiated connections. (See D.I. 201 at 16

 ("[T]he host must establish the connection with the remote device, not the remote.").)

 While the "instruction" limitation was not addressed at the Markman hearing, I will

 nevertheless construe it now because, after the Markman hearing, Routel submitted Dr.




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  Akl's expert report, which offers an arguably new opinion pertaining to the "instruction"

  limitation. 9

         Dr. Aki opined that "[a] person of ordinary skill in the art would understand that

  an instruction to establish a connection may include a host-initiated connection, or a

  remote-initiated and host-accepted connection." (D.1. 218-3 (A~I Reply Rpt.), 31.)

  AirWatch contends that Dr. Akl's opinion "is contrary to the claim language, the

  specification, and the file history." (D.I. 191 at 2.) In AirWatch's view, the "claimed

  host in the '216 patent ... must send the connection request, not the remote." (D.I. 201 at

  17.) Hence, it has requested that I construe the "instruction" limitation to mean "sending

 an instruction, from the controller to the selected host, for the host to establish a

 connection to the remote device." (D.1. 191 at 3.) Routel counters that the plain

 language of Step lg encompasses both a host-initiated connection and a remote-initiated

 connection. (D.I. 193 at 4.)

         AirWatch has much the stronger position. Its proposed construction of the

 "instruction" limitation comports with the language of the '216 patent, the patent's


         9
          The emergence in expert reports of new theories of infringement, after the court
 has given its claim construction rulings, is nothing new. In Cadence Pharmueticals, Inc.
 v. lnnopharma Licensing LLC, No. 14-1225-LPS, 2017 WL 39560, at *1 (D. Del. Jan. 4,
 2017), the court said:
        [The parties] attack each other for having introduced new claim
        constructions into the case through expert reports and, consequently, the
        parties have filed [a slurry of motions] and discovery dispute letters. In
        general, the Court has determined that the appropriate course of action
        under the circumstances is to allow each party to present the case it wishes
        to present - including whatever has been disclosed in each of the expert
        reports that have been served - and to determine at an appropriate time if
        any further claim construction is necessary.
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  specification, and the prosecution history. The claim language at issue simply cannot

  support Route 1's proposed meaning.

         The "instruction" limitation's language requires that the controller instruct the

  selected host "to establish a connection" with the remote. ('216 Pat. at 10:19-20

  (emphasis added):) On its face, that language describes a host-initiated connection. It

  does not encompass the opposite, a remote-initiated connection. To say otherwise would

  strip the word "establish" of its plain and ordinary meaning. 10 It would be illogical,

  absent contrary intrinsic evidence, to conclude that an instruction sent from the controller

 to the host somehow instructs the remote to establish the connection, when the remote

 has received no instruction. In short, the claim language supports construing the

 "instruction" limitation to allow only for host-initiated connections.

        That reading is further supported by the specification, which describes only a host-

 initiated connection. The patent describes the "instruction" step as "[s]etting up a

 communication channel between a remote computer and a host computer" where the

 "host ... sends a handshake to [the] remote[.]" ('216 Pat. 7:5-7.) Further, the patent

 discloses that the "remote ... receives the handshake from [the] host[.]" ('216 Pat. 7:14-

 15 (emphasis added).) That handshake establishes the connection, and is initiated by the




        10
           Black's Law Dictionary defines "establish" to mean "[t]o make or form; to bring
 about or into existence[.]" Establish, Black's Law Dictionary (11th ed. 2019).

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  host. The specification teaches host-initiated connections and only such connections. It

  does not reference or otherwise disclose remote-initiated connections. 11

         Route 1 argues that the specification merely describes a preferred embodiment and

  that the claims·should not be limited to that embodiment. (See D.I. 193 at 5 ("[I]t is well

  established that the claims are not limited to the disclosed embodiment absent reasons

  such as prosecution disclaimer[.]").) That argument is unpersuasive here for two reasons.

  First, as discussed above, both the patent's disclosure and the claim language are

  limited- by their terms - to a host-initiated connection. See Phillips, 415 F.3d at 1316

  ("In light of the statutory directive that the inventor provide a 'full' and 'exact'

  description of the claimed invention, the specification necessarily informs the proper


         11
          As further support, Figure 3c of the '216 patent depicts the handshake with a
 directional arrow confirmin that the remote receives, rather that initiates, the connection.
                      Remote 10           Conirolla, 50         Host60
                                           operation




                       receive
                      handshake
                             4


 ('216 Pat., Fig. 3c (arrow from Step 335, Host: "send handshake[,]" to Step 425, Remote:
 "receive handshake[,]" with no arrow in the opposite direction).)
                                                    12
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  construction of the claims."). Second, the prosecution history of the '216 patent

  precludes the construction now sought by Route 1.

         "[T]he prosecution history can often inform the meaning of the claim language by

  demonstrating how the inventor understood the invention and whether the inventor

  limited the invention in the course of prosecution, making the claim scope narrower than

  it would otherwise be." Id. at 1317. Here, AirWatch persuasively argues that Route! 's

  efforts in the Patent Office to distinguish prior art, in particular the Kiwimagi reference,

  confirm that the claimed method encompasses only a host-initiated connection. (See,

 e.g., D.I. 191 at 2-3.)

         During prosecution, in response to a final rejection based on Kiwimagi, Route 1

 argued that Kiwimagi failed to teach certain limitations of the '216 patent. In particular,

 Routel said:

        Kiwimagi fails to show or suggest the following feature[] [ of the claimed
        method]: ... sending an instruction, from the controller to the selected host,
        to establish a connection to the remote. Instead, Kiwimagi teaches that the
        remote takes the initiative to establish a connection to the host.

 (D.I. 191 Ex. 5 ('216 Pat. File History) at RT_00000344 (emphasis added).) Routel now

 contends that they only "happened to use the words 'takes the initiative to establish a

 connection"' and that AirWatch's construction of the term "establish" to "carry that

 additional language [of initiation] ... is simply tautological ... as the words 'taking the

 initiative' do nothing in and of themselves to clarify how the remote and host interact[.]"

 (D.I. 228 at 13.)




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         Contrary to Route 1's attempt to evade its earlier representations, patent law does

  not assume that words used to traverse prior art just "happened to" be chosen. Phillips,

  415 F .3d at 1316-17. The argument that little weight should be afforded to the words it

  chose to use in its statement to the patent examiner is wholly unpersuasive. Cf Comput.

  Docking Station Corp. v. Dell, Inc., 519 F.3d 1366, 1374 (Fed. Cir. 2008) ("[A] patentee

  may limit the meaning of a claim term by making a clear and unmistakable disavowal of

  scope during prosecution .... for example, by clearly characterizing the invention in a

 way to try to overcome rejections based on prior art." (citation and internal quotation

 marks omitted)).

        Routel tries to redirect my attention by emphasizing a different portion of the

 prosecution history, which states:

               Claim 3 requires that the controller sends parameters for the remote to the
        host, and instructs the host to establish communication with the remote.
               In contrast, Kiwimagi has its security host send parameters for the host to
        the remote, so that the remote can establish communication with the host.

 (D.1. 191 Ex. 5 at RT_00000343) (emphasis altered).) Routel then argues that "the

 fundamental difference between the claimed invention and Kiwimagi is that in the

 claimed invention, the controller brokers the connection between the host and the remote,

 but in Kiwimagi the remote-which the inventor referred to as an 'unknown remote'-

 makes a direct connection to the host." (DJ. 193 at 4 (emphasis added) (citation

 omitted).) According to Routel, the "prosecution says nothing about how the host

 establishes a connection to the remote, nor does the prosecution state--or suggest-that

 the host must somehow 'initiate' a connection to the remote." (Id. (emphasis omitted).)


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  That is a remarkable argument, given that Routel secured patentability by arguing that,

  unlike the '216 patent, "Kiwimagi teaches that the remote takes the initiative[.]" (D.1.

  191 Ex. 5 at RT_00000344 (emphasis added).) Contrary to Routel 's assertion, the

  prosecution history speaks directly on this issue, distinguishing prior art based on a

  remote-initiated connection. 12

         Routel cannot have it both ways. It is improper to secure issuance of claims by

  arguing that they are limited to host-initiated connections, only to tum around and argue

  in litigation that those claims are not so limited and to assert broad infringement theories.

  See Rhodia Chimie v. PPG Indus., 402 F.3d 1371, 1384 (Fed. Cir. 2005) ("[C]onsulting

 the prosecution history .... [e]nsures that claims are not construed one way in order to


         12
           Indeed, throughout prosecution, Routel repeatedly emphasized that Kiwimagi
 was distinguishable because of its remote-initiated connection. For example, during an
 earlier amendment, Routel argued, "Kiwimagi teaches away from [claim l] because
 [claim 1] requires that the controller instruct the host to establish a connection to the
 remote, whereas Kiwimagi teaches that the remote client requests a connection directly
 from the host system." (D.I. 205 Ex. 5 ('216 Pat. File History) at RT_00000294
 (emphasis omitted).) Similarly, it also argued: "Kiwimagi teaches away from sending
 parameters [to setup connection or handshake] for the remote from the controller to the
 selected host, as required by [claim I,]" (Id. at RT_00000346,) and "Kiwimagi's remote
 request [sic] access from the host, so there is no need for the host to establish a
 connection to the remote." (Id. at RT_00000345.)
         Routel contends that "[w]hat matters is what Kiwimagi actually discloses, and
 how that differs from the '216 Patent and the accused AirWatch products." (D.1. 228 at
 13.) Route 1's attempts to highlight differences in technology between the '216 patent
 and Kiwimagi do not obscure its statements during prosecution, upon which the examiner
 relied. See Rhodia Chimie v. PPG Indus., Inc., 402 F.3d 1371, 1384 (Fed. Cir. 2005)
 ("The purpose of consulting the prosecution history in construing a claim is to exclude
 any interpretation that was disclaimed during prosecution." (citation and internal
 quotation marks omitted)). AirWatch describes the prosecution history accurately:
 "actual prosecution statements belie [Routel 's] revisionist history, which focused on the
 direction of the connection from the host to the remote device." (D.I. 253 at 7 (citing D.I.
 205 Ex. 5. at RT_00000344).)
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  obtain their allowance and in a different way against accused infringers."). I thus

  construe the "instruction" limitation to mean "sending an instruction, from the controller

  to the selected host, for the host to establish a connection to the remote device." (D.I.

  191 at 3.)

               2. Infringement

         An analysis of infringement involves two steps. The first step is claim

  construction, "determining the meaning and scope of the patent claims asserted to be

  infringed." Markman v. Westview Instruments. Inc.. 52 F.3d 967, 976 (Fed. Cir. 1995),

  ajf'd, 517 U.S. 370 (1996). "The second step is comparing the properly construed claims

 to the device accused of infringing." Id. "Summary judgment ofnoninfringement is

 appropriate where the patent owner' s proof is deficient in meeting an essential part of the

 legal standard for infringement," and "such failure ... render[s] all other facts

 immaterial." Telemac Cellular Corp. v. Topp Telecom, Inc., 247 FJd 1316, 1323 (Fed.

 Cir. 2001).

        To establish literal infringement, Route I must show that the "instruction"

 limitation set forth in claim 1 is found in AirWatch's accused products, exactly. 13 See

 Southwall Techs., Inc. v. Cardinal JG Co., 54 F.3d 1570, 1576 (Fed. Cir. 1995) ("To

 establish literal infringement, every limitation set forth in a claim must be found in an


        13
           As to Step lg, Routel does not assert that there is infringement under the
 doctrine of equivalents, only that the limitation is literally infringed. (See D.I. 228 at 21
 (discussing the Doctrine of Equivalents argument as to different limitations (Steps 1d, 1f,
 and lh)); see also Oral Arg. Tr. at 26:18-27:6 (answering that the Court had not
 overlooked an equivalents argument because "as [Routel] analyzed it, [it] felt like [it]
 had literal[]" infringement).)
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  accused product, exactly."). The "instruction" limitation, as construed above, includes

  only host-initiated connections. Thus, there is no infringement if AirWatch's products

  act via a remote-initiated connection.

         Route 1 advances two theories of literal infringement, based on two configurations

  of AirWatch's products - the first being a combination of the SEG and the Exchange

  Server (email platform and email system), and the second a combination of the ACC and

  the Exchange Server ( cloud component and email system). Regarding the first

  configuration, Route 1 contends that "Dr. Akl has provided opinion and evidence that the

  [accused products' alleged controller] instructs the [alleged host] ... to establish a

  connection for delivering email [(establishing a connection)] to remote devices." (D.I.

 228 at 14-15 (citing D.I. 218-1 ,i,i 127-28).) But, in the portion of the expert report

 Routel cites, Dr. Akl relies on just the opposite, that "[t]he mobile device connects to the

 [SEG (the alleged host in this configuration).]" (D.I. 218-1 ,i 127 (emphasis added).)

 Thus, the first configuration, acting through the SEG and Exchange Server, is a remote-

 initiated, not host-initiated, connection.

        As to the second configuration, Routel again relies on Dr. Akl ' s opinion in an

 attempt to carry its infringement burden. (D.I. 228 at 15 (citing D.I. 218-1, 129).) In the

 relevant portion of his report, however, Dr. Akl merely contends that the limitation is met

 because the instruction is sent to "the email system directly." (D.I. 218-1 ,i 129.) That

 argument ignores his prior reliance on the fact that it is the mobile device that initiates

 connection. (D .I. 218-1 ,i 127.) That the email system receives the instruction does not

 change that. (See D.I. 202-1 ,i 217 ("[R]egardless of whether the accused instruction that

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  Dr. Aki relies on is sent to the SEG or Exchange Server, a mobile device is free [to

  initiate the connection.]").)

         Moreover, Dr. Akl's Reply report relies on AirWatch's testimonial evidence that,

  in AirWatch's system, it is "not possible to make an inbound connection [(a host-initiated

  connection)] to a mobile device." (D.I.218-3131.) In effect, that reliance amounts to a

  concession that Air Watch products are incapable of a host-initiated connection. 14

  Consistent with that, Routel 's counsel conceded at oral argument that, if AirWatch's

 proposed construction were adopted, Route 1 could not prove literal infringement. 15

  Therefore, there is no genuine dispute as to whether AirWatch's products, acting in either

 of the alleged configurations, infringe the "instruction" limitation. Rather, Route 1 has

 effectively conceded that the alleged infringing products act via remote-initiated

 connection.

        Summary judgment of non-infringement as a matter of law is thus warranted.

             3. Validity

        14
           It is also worth noting that Dr. Akl's Reply report was offered, in part, to
 respond to AirWatch's expert report, in which Alex C. Snoeren, Ph.D., opined that
 AirWatch's products do not practice the "instruction" limitation. But Dr. Aki did not
 counter or otherwise rebut AirWatch's factual contentions. Instead of grappling with Dr.
 Snoeren's substantive arguments, Dr. Aki merely opined that "Dr. Snoeren again
 attempts to narrow the plain language of the claim and asserts that an instruction to
 establish a connection necessarily requires the host to initiate the connection." (D.I. 218-
 31130-31.)

        15
           (Oral Arg. Tr. at 26:19-27:6 (Judge Jordan: "IfI were to construe [the
 "instruction" limitation as AirWatch requests], is there a way still for you to win on
 infringement, direct, not equivalence? [Counsel for Routel]: Not on literal infringement.
 ... [Judge Jordan]: Because I didn't see anything, and maybe I missed it, but I didn't see
 any equivalence arguments. [Counsel for Routel]: No, as we analyzed it, we felt like we
 had literal.").)
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            The analytical starting point for assessing a patent's validity is the statutory

  presumption of validity. See 35 U.S.C. § 282 ("A patent shall be presumed valid.").

  Accordingly, "[t]he burden of establishing invalidity of a patent or any claim thereof shall

  rest on the party asserting such invalidity." Id. And carrying that burden requires proof

  by clear and convincing evidence. Microsoft Corp. v. 141 Ltd. P'ship, 564 U.S. 91, 95

  (2011).

         AirWatch argues that the "instruction" limitation, and thus all claims of the patent

  in suit, are invalid for lack of adequate written description. (D.1. 201 at 26.) To succeed,

 AirWatch must show that the '216 patent's description does not "allow persons of

 ordinary skill in the art to recognize that [the inventor] invented what is claimed." Ariad

 Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (citation omitted)

 (alteration in original). "In other words, the test for sufficiency is whether the disclosure

 of the application relied upon reasonably conveys to those skilled in the art that the

 inventor had possession of the claimed subject matter as of the filing date." Id.

        Route 1 points to portions of the specification that it says are "sufficient to defeat a

 motion for summary judgment under the clear and convincing standard." (D.I. 228 at

 24.) For example, it relies on the patent's recitation that:

        at step 520, controller 50 receives the parameter request message from host
        60. At step 525, controller 50 checks whether any parameters have been
        received for this host from step 620. One of the hosts on the authorized
        host list will get parameters, the rest will not, since only one host-remote
        channel is being established. Controller 50 forwards the parameters to the
        selected host, and forwards a "disconnect" message to the rest of the hosts
        on the list.

 (D.I. 218-2 (Aki Rpt.) ,r 196 (citing '216 Pat. at 6:60-67).)

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         AirWatch contends that neither that excerpt, nor the patent's entire disclosure,

  "describes an 'instruction' to the selected host to 'establish a connection

  to the remote device."' (D.I. 201 at 26-27 .) "Instead, they only describe the controller

  sending 'parameters' concerning the remote device to the host." (Id.)

         I conclude that Route 1 wins this point at the summary judgment stage. The

  quoted excerpt creates at least a genuine dispute of material fact. See GlaxoSmithKline

 LLC v. Banner Pharmacaps, Inc., 744 F.3d 725, 729 (Fed. Cir. 2014) ("Adequacy of the

 written description is a question of fact."). The forwarding of parameters, representing

 device-specific information to validate and setup the connection, in response to a

 "connection request message from [the] host" ('216 Pat. 6:58-59), implies that the

 parameters will be used to facilitate the request to connect, amounting to an instruction to

 connect. That, coupled with the use of the term "disconnect" implying that a connection

 had been formed, is a sufficient disclosure to defeat AirWatch's motion for summary

 judgment.

 IV.    CONCLUSION

        For the foregoing reasons, I will grant the request for additional claim

 construction, to the extent provided herein. (D.I. 191.) I will also grant AirWatch's

 motion for summary judgment of non-infringement, but deny its motion for summary

 judgment of invalidity. (D.I. 199.) I will deny as moot the Daubert motions by both

 parties regarding the expert opinions on damages, having held there is no infringement as

 a matter oflaw. (D.I. 197, 200.)



                                              20
